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 5
     Attorney for Defendant
 6   WILLIAM BOHAC
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 9
                              IN THE UNITED STATES DISTRICT COURT
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                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
14   United States of America,           )               Case No. CRS - 11-323-JAM
                                          )
15                                        )
                                          )              REQUEST FOR ORDER &
16                                        )              ORDER EXONERATING BOND
     v.                                   )
17                                        )
     WILLIAM BOHAC,                       )
18                                        )
                 Defendant.               )
19                                        )
     ____________________________________
20
21
            In the above referenced case, Mr. Bohac was ordered released on a $120,000 Secured
22
     Bond. The property located at 8933 Matthews Lane, Marysville, California, owned by Ms.
23
     Barbara Fisher, was posted and a deed of trust and promissory note was recorded against this
24
     property:
25
            The above captioned matter has now been settled. It is hereby requested that the Secured
26
     bond referenced above be exonerated and that the Clerk of the District Court be directed to
27
     reconvey back to the Surities, the Deeds of Trust and Promissory Notes.
28
     Dated: August 24, 2015                              /s/ Dina L. Santos
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 1                                                          DINA L. SANTOS
                                                            Attorney for Defendant
 2                                                          WILLIAM BOHAC
 3
                                                   ORDER
 4
 5   It is hereby ordered that the Secured bond in the amount of $120,000, posted by and secured by a
 6   deed of trust and promissory note from the following property and person:
 7
            Ms. Barbara Fisher
 8          8933 Matthews Lane
            Marysville, California
 9
     is hereby exonerated, and that the Clerk of the District Court is directed as soon as practicable to
10
     reconvey back to the Trustor the Deeds of Trust and Promissory Notes.
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12
     Dated: August 25, 2015
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14
                                                           /s/ John A. Mendez____________
15                                                         HON. JOHN A. MENDEZ
                                                           U.S. DISTRICT COURT JUDGE
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